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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF ARKANSAS
                        WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:12CR00246-15 DPM


STEPHANIE LYNN GONZALEZ


                                      ORDER

      The Court’s September 13, 2012 Order Setting Conditions of Release (docket

entry #66) is MODIFIED as follows:

      (1) Once Defendant has completed thirty days of inpatient drug

      treatment, she shall participate in chemical-free living until the final

      disposition of her case; and

      (2) Defendant shall submit to any drug testing as required by her pretrial

      services officer.

      IT IS SO ORDERED this 19th day of September, 2012.



                                       ____________________________________
                                       UNITED STATES MAGISTRATE JUDGE
